

Bloom v Hilpert (2023 NY Slip Op 01859)





Bloom v Hilpert


2023 NY Slip Op 01859


Decided on April 11, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 11, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Higgitt, JJ. 


Index No. 311653/16 Appeal No. 25 Case No. 2022-04759 

[*1]Erika Bloom, Plaintiff-Respondent,
vDaniel Hilpert, Defendant-Appellant. 


Daniel Hilpert, appellant pro se.



Appeal from order, Supreme Court, New York County (Douglass E. Hoffman, J.), entered October 24, 2022, which, to the extent appealed from, denied defendant's motion to direct plaintiff to reinstate family health insurance coverage pendente lite, unanimously dismissed, without costs, as moot.
The appeal has been rendered moot by the entry of the judgment of divorce in the underlying matrimonial matter, which terminated the automatic orders for the purpose of enforcement and rendered the parties ineligible for joint health coverage (see
Domestic Relations Law §§ 236[B][2], 255[1]; see also Spencer v Spencer, 159 AD3d 174, 181-182 [2d Dept 2018]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 11, 2023








